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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                 PORTLAND DIVISION
MEGHAN OPBROEK, an individual,                   Case No.     3:22-CV-00610-JR
               Plaintiff,                        DEFENDANT MARK DUARTE’S ANSWER
       v.                                        TO PLAINTIFF’S FIRST AMENDED
                                                 COMPLAINT
CITY OF PORTLAND, a municipal
corporation, ZACHARY DOMKA, in his
individual capacity, BRENT TAYLOR, in
his individual capacity, MARK DUARTE, in
his individual capacity, and ERIK
KAMMERER, in his individual capacity,
               Defendants.

       Defendant Mark Duarte (“Duarte”) answers Plaintiff’s First Amended Complaint

as follows:

                                            1.

       In response to paragraph 1, Duarte admits that on June 25, 2020, a protest

occurred at or around the Portland Police Bureau’s North Precinct and that Plaintiff was

in that same area on that date. The remaining allegations are denied.




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                                             2.

       Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraph 2, and therefor denies them.

                                             3.

       In response to paragraph 3, Duarte admits that at the times material hereto, he was

employed by the City of Portland as a police officer. Duarte is without sufficient

knowledge or information to form a belief in the truth of the allegations of paragraph 3,

and therefor denies them.

                                             4.

       Duarte admits paragraph 4.

                                             5.

       Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraphs 5, 6, 7 and 8, and therefor denies them.

                                             6.

       In response to paragraph 9, Duarte admits that during the summer of 2020,

protests occurred in locations close to the Justice Center, and the PPB North Precinct.

                                             7.

       Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraphs 10, 11 and 12, and therefore denies them.

                                             8.

       In response to paragraph 13, Duarte denies that Opbroek witnessed PPB officers

firing flashbang grenades and other impact munitions directly into the crowd of people,

shoving people to the ground, or firing impact munitions into people lying on the ground.



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Duarte is without sufficient knowledge or information to form a belief in the truth of the

remaining allegations of paragraph 13, and therefor denies them.

                                              9.

         Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraphs 14, 15 and 16, and therefor denies them.

                                             10.

         In response to paragraph 17, Duarte denies the allegation that he fired a weapon at

Plaintiff. Duarte is without sufficient knowledge or information to form a belief in the

truth of the allegations of the remaining allegations of paragraph 17, and therefor denies

them.

                                             11.

         Duarte denies paragraphs 18, 19, 20 and 21.

                                             12.

         In response to paragraph 22, Duarte admits that he received training regarding the

use of equipment that was or could be used in the course of his work for PPB. The

remaining allegations are denied.

                                             13.

         In response to paragraph 23, Duarte denies the allegation that he fired a flashbang

grenade directly at Plaintiff. Duarte is without sufficient knowledge or information to

form a belief in the truth of the remaining allegations and therefor denies them.

                                             14.

         Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraphs 24 and 25, and therefor denies them.



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                                           15.

       Duarte denies the allegations of paragraphs 26 and 27.

                                           16.

       Duarte responds to paragraph 28 as set forth above.

                                           17.

       Duarte admits paragraph 29.

                                           18.

       Duarte denies paragraphs 30, 31, 32 and 33.

                                           19.

       Duarte responds to paragraph 34 as set forth above.

                                           20.

       Duarte admits paragraph 35.

                                           21.

       Duarte denies paragraphs 36, 37, 38, 39, 40, 41, 42, 43 and 44.

                                           22.

       Paragraphs 45, 46 and 47 do not call for a response from Duarte.

                                           23.

       Duarte responds to paragraph 48 as set forth above.

                                           24.

       Duarte admits paragraph 49.

                                           25.

       Duarte is without sufficient knowledge or information to form a belief in the truth

of the allegations of paragraph 50, and therefor denies them.



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                                          26.

       Duarte denies paragraphs 51, 52 and 53.

                                          27.

       Duarte responds to paragraph 54 as set forth above.

                                          28.

       Duarte denies paragraphs 55, 56 and 57.

                                          29.

       Duarte responds to paragraph 58 as set forth above.

                                          30.

       Duarte denies paragraphs 59 and 60.

                                          31.

       Duarte responds to paragraph 61 as set forth above.

                                          32.

       Duarte denies paragraphs 62, 63 and 64.

                                          33.

       Duarte responds to paragraph 65 as set forth above.

                                          34.

       Duarte denies paragraphs 66, 67, 68, 69, 70, 71, 72 and 73.

                                          35.

       Except as otherwise admitted or alleged herein, Duarte denies each and every

allegation of Plaintiff’s First Amended Complaint.




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                           FIRST AFFIRMATIVE DEFENSE
                              (QUALIFIED IMMUNITY)

                                             36.

       Duarte is entitled to qualified immunity for all actions at issue in this lawsuit.

                                      *       *       *

       WHEREFORE, Defendant Mark Duarte prays that his answer be deemed good

and sufficient and that Plaintiff’s claims against him be dismissed.

       DATED this 10th day of July, 2023.

                                              HUTCHINSON COX

                                              By:     s/Andrea D. Coit
                                                    Andrea D. Coit, OSB #002640
                                                    Jonathan M. Hood, OSB #133872
                                                    Of Attorneys for Defendant Mark Duarte




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                               CERTIFICATE OF SERVICE


       I certify that on July 10, 2023, I served or caused to be served a true and complete

copy of the foregoing DEFENDANT MARK DUARTE’S ANSWER TO PLAINTIFF’S

FIRST AMENDED COMPLAINT on the party or parties listed below as follows:


                     Via CM / ECF Filing

                     Via First Class Mail, Postage Prepaid

                     Via Email

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                                                  HUTCHINSON COX


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